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 8                                      UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11         RALPH COLEMAN, et al.,                        No. 2:90-cv-0520 KJM DB P
12                         Plaintiff,
13               v.                                      ORDER
14         EDMUND G. BROWN, JR., et al.,
15                         Defendants.
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18                    On March 12, 2019, the court received the neutral expert’s monthly invoice for
19     services rendered through February 28, 2019. In accordance with the district court’s January 8,
20     2019 order, ECF No. 6064 at 5, the court reviewed the invoice. On March 15, 2019, the neutral
21     expert’s proposed summary invoice was distributed to the parties on March 1, 2019. See ECF
22     No. 6064 at 5. A copy of that summary invoice is filed concurrently with this order, along with
23     the detailed billing summary provided for the court’s review, under seal.1 Attachment A, Invoice
24     dated March 12, 2019 (filed under seal). On March 22, 2019, defendants submitted objections to
25     the proposed final invoice. See Attachment B, March 22, 2019 Letter from Supervising Deputy
26     Attorney General Adriano Hrvatin to Honorable Deborah Barnes. On March 25, 2019, the
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        The detailed billing statements of the neutral expert will be maintained under seal pending
28     completion of his work to protect the integrity of 1his investigation. See ECF No. 6083 at 2.
     Case 2:90-cv-00520-KJM-SCR            Document 6115       Filed 03/29/19      Page 2 of 2


 1     neutral expert responded to defendants’ objections. See Attachment C, March 25, 2019 Letter

 2     from Benjamin B. Wagner, Esq. to Honorable Deborah Barnes.

 3                    The court has reviewed defendants’ objections and the neutral expert’s response to

 4     those objections. Defendants’ objections to preserve certain rights before the district court and on

 5     appeal. In addition, defendants request “at least ten business days” to “procure and issue payment.”

 6     Attachment B, at 2. The neutral expert has not objected to this request.

 7                    Accordingly, good cause appearing, IT IS HEREBY ORDERED that:

 8                    1. The Clerk of the Court is directed to maintain Attachment A to this order under

 9     seal until further order of court; and

10                    2. Within ten business days from the date of this order defendants shall pay to the

11     neutral expert the amount of $242,212.56 as reflected in the invoice for services rendered through

12     February 2019.

13                    IT IS SO ORDERED.
14     Dated: March 28, 2019
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